                            UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION


 DONNA MARSHALL,
                                                        Civil Action No. 1:19-cv-03718
                                 Plaintiff,
                                                        Judge John J. Tharp, Jr.
                       v.
                                                        Magistrate Judge Gabriel A. Fuentes
 GRUBHUB INC.,

                                 Defendant.


                     GRUBHUB INC.'S OPPOSITION TO PLAINTIFF'S
                         MOTION TO COMPEL DISCOVERY

       Plaintiff Donna Marshall ("Plaintiff") brings suit under a limited provision of the

Telephone Consumer Protection Act of 1991 ("TCPA"), 47 U.S.C. § 227(b)(1)(A)(iii), which

regulates calls made with an automatic telephone dialing system or a prerecorded or artificial

voice. Plaintiff alleges that she received informational calls intended for a Grubhub restaurant

partner, NaanStop, that featured a prerecorded voice without her consent. As discovery has

demonstrated, the alleged calls to Plaintiff resulted solely from an isolated human error. A form

onboarding NaanStop as a Grubhub restaurant partner mis-transposed one digit of the

restaurant's phone number. As a result, Grubhub's business records reflected that Plaintiff's

number was the restaurant's number. Although Plaintiff claims that she informed Grubhub of the

wrong number after she began receiving calls, in fact, Plaintiff placed three calls to Grubhub –

each of which she abandoned. Plaintiff abandoned two of those calls by hanging up before

reaching an agent while, on the third time, she hung up despite agreeing to be transferred to a

representative who could address her concerns. Plaintiff's own actions therefore delayed

resolution of the issue that she claims led to this lawsuit.
        In its discovery responses, Grubhub informed Plaintiff that it identified no other

individuals who received similar informational calls intended for restaurants. (See Pl.'s Mot., Ex.

A at 5, 9, 12-13, 19, 22, 27 [hereinafter Pl.'s Mot.].) But Plaintiff insists on trying to certify a

class even though, based on Grubhub's business records, she is in a class of one. Despite her

assertion that, if Plaintiff is the only person who received these wrong number calls, "the case

[will] go away pretty quickly," (Tr. of Status Hr'g at 14:11-12, Feb. 14, 2022, ECF 88), Plaintiff

persists in seeking expansive, burdensome, and irrelevant information from Grubhub that is

untethered to Plaintiff's actual experience. (See id.) Grubhub has been forthcoming about the

issue and provided or promised to provide additional relevant and responsive information in

response to Plaintiff's discovery requests. For these reasons and those described below, this

Court should deny Plaintiff's Motion to Compel.


                                           BACKGROUND

        Plaintiff served her first set of discovery requests on October 19, 2021. The requests

sought broad discovery unbounded by the unique circumstances that led to Plaintiff's claims. In

its responses on December 2, 2021, Grubhub informed Plaintiff that after a reasonable

investigation, it had identified no other instances where an individual had complained that they

received calls meant for one of Grubhub's restaurant partners. Perhaps sensing difficulty for her

ability to certify a class under these circumstances, Plaintiff now seeks information that is

unrelated and irrelevant to her specific claim and any putative class she could represent.

Plaintiff's requests will not identify anyone similarly situated to herself.1 Plaintiff's requests even


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    As this Court noted: "[P]laintiff concedes that its class definition as of now is a moving target:
    'Plaintiff intends to focus on calls to wrong numbers – telephone subscribers whom Grubhub called in
    error using robotic prerecorded messages.' Plaintiff admits that the foregoing description of the
    proposed class 'does not parse things in this [same] way' as does the Amended Complaint. Plaintiff
                                                                                                  (cont'd)


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seek Grubhub's do-not-call policies and procedures, which are irrelevant to her claim, as well as

voluminous, sensitive, and irrelevant call data.

         Grubhub engaged in several meet and confer discussions with Plaintiff and, at Plaintiff's

request, provided its positions in writing. In return, Grubhub asked that Plaintiff continue

discussions in good faith and let Grubhub know of any additional perceived deficiencies. Instead,

knowing that Grubhub had committed to producing additional documents and discovery

responses, Plaintiff elected to short circuit the conferral process and to seek this improper relief.2

At the time of the filing, Grubhub had already produced, or committed to produce, many of the

documents that Plaintiff now seeks to compel. Specifically, Grubhub has committed to, to the

extent that they exist and relate to communications with restaurant partners:3

    •    Identify the types of prerecorded calls made to restaurant partners and provide exemplars

         of each call type (Interrogatory 1; Request for Production [hereinafter RFP] 11);

    •    Identify one person on the technical and operational sides of calls to restaurant partners

         (Interrogatory 3, 4);

    •    Identify documents relevant to consent Grubhub received for outbound calls

         (Interrogatory 5);

    •    Identify any retained experts at the appropriate time (Interrogatory 9);



    states that she expects, going forward in the lawsuit, to 'modify the class definition based upon
    discovery received.'" (Order at 11, ECF 95.) (citations omitted) As set forth herein, based on
    Plaintiff's unique circumstances, Plaintiff has no viable path to represent a certifiable class.
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    Plaintiff's motion also advances the unsupported position that she has been forced to seek an order
    compelling discovery before she has the opportunity to assess the completeness of Grubhub's
    production.
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    Grubhub has appropriately limited its responses to requests for wrong number policies and procedures
    to calls intended for restaurant partners, the wrong number circumstance under which Plaintiff's claim
    arose. Regardless, Grubhub does not initiate calls to consumers that might include a prerecorded
    message. Thus, the entire universe of calls are to Grubhub's restaurant partners.


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   •   Produce nonprivileged documents regarding Plaintiff and her cell phone number (RFP 1);

   •   Produce nonprivileged documents describing the system that Grubhub uses for calls to

       restaurant partners and the process for making such calls (RFPs 4, 5);

   •   Produce nonprivileged documents regarding the prevention of restaurant partner calls to

       wrong numbers (RFP 7);

   •   Produce nonprivileged documents regarding compliance with the TCPA's prerecorded

       voice call provisions (RFP 8);

   •   Produce nonprivileged documents supporting Grubhub's affirmative defenses (RFP 16);

       and

   •   Produce nonprivileged documents received from third parties, any documents underlying

       affidavits or declarations prepared for the case, and nonprivileged documents underlying

       Grubhub's discovery responses pursuant to Federal Rule of Civil Procedure 26 (RFPs 17,

       18, 19). (See Pl.'s Mot., at Ex. A and Ex. C.)

       Grubhub also confirmed repeatedly that it is not aware of anyone else, other than

Plaintiff, who received calls intended for restaurant partners. See id. at Interrogatories 2, 7, 8 and

RFPS 2, 3, 10, 12, 14, 15. Despite its prior responses and good faith commitments, Plaintiff

seeks to compel compliance with nearly every discovery request she propounded, seemingly on

the basis that she believes that any limitation proposed by Grubhub, in an attempt to make the

requests relevant to the alleged circumstances leading to Plaintiff's claim, is inappropriate.


                                       LEGAL STANDARD

       As this Court noted, discovery must be "proportional to the needs of the case,

considering," among other things, "the importance of the discovery in resolving the issues, and

whether the burden or expense of the proposed discovery outweighs its likely benefit." Fed. R.


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Civ. P. 26(b)(1). Thus, "in managing discovery in class actions, 'district courts are required to

balance the need to promote effective case management, the need to prevent potential abuse, and

the need to protect the rights of all parties.'" Miner v. Gov't Payment Serv., Inc., No. 14-cv-7474,

2017 WL 3909508, at *4 (N.D. Ill. Sept. 5, 2017) (citation omitted). To this end, district courts

"enjoy broad discretion in settling discovery disputes and in delimiting the scope of discovery."

Corley v. Rosewood Care Ctr., Inc. of Peoria, 142 F.3d 1041, 1052 (7th Cir. 1998). As such, the

Court invited the parties to seek its assistance if "either party embarks on discovery that is

oppressive, irrelevant, or disproportionate to the needs of the case." (Order at 11, ECF 95.)


                                           ARGUMENT

A.     Plaintiff Is Not Entitled to Discovery That Is Irrelevant or Disproportionate
       to Her Claims.

       Grubhub has consistently centered the discovery discussions around documents relevant

to Plaintiff's claim, the subject of which is undisputed. Plaintiff received informational calls

meant for one of Grubhub's restaurant partners because of a limited instance of human error,

whereby one digit of NaanStop's phone number was mistakenly transposed on its restaurant

onboarding form. As a result, Plaintiff received phone calls, which she alleges featured a

prerecorded voice, that were intended for a consenting restaurant partner. Grubhub has provided

documents from the restaurant reflecting its consent and obligation to provide Grubhub with

accurate contact information. It has also consistently represented that its investigation has not

identified any individuals who, like Plaintiff, allegedly received informational calls meant for

restaurant partners. (See Pl.'s Mot., at Ex. A.at 5, 9, 12-13, 19, 22, 27.) There is no additional

discovery that could be pursued that will change this answer. It appears that Plaintiff does not

like Grubhub's response because it precludes her representation of any class of individuals.

Plaintiff's repeated requests for additional irrelevant information about all of Grubhub's


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communications with its restaurant partners or its TCPA do-not-call policies and procedures are

nothing but a fishing expedition that either seeks to find evidence for claims not pled or harass

Grubhub.

        It is well founded that "the requirement of Rule 26(b)(1) that the material sought in

discovery be 'relevant' should be firmly applied," Herbert v. Lando, 441 U.S. 153, 177 (1979),

and that "discovery is not to be used as a fishing expedition." EEOC v. Harvey L. Walner &

Assocs., 91 F.3d 963, 971-72 (7th Cir. 1996); see also BankDirect Cap. Fin., LLC v. Cap.

Premium Fin., Inc., No. 15 C 10340, 2018 WL 946396, at *4 (N.D. Ill. Feb. 20, 2018) ("Phrased

differently, 'fishing expeditions' in discovery are prohibited because the information being sought

is ultimately not 'relevant.'").

        In addition, the limits imposed by Federal Rule of Civil Procedure 26(b) were designed to

protect litigants against the problem of "over-discovery" by "encourag[ing] judges to be more

aggressive in identifying and discouraging discovery overuse.'" Fed. R. Civ. P. 26(b) advisory

committee's note to 1983 amendment. Therefore, "even ignoring questions of relevancy," there

are cases "where the burden or expense of the proposed discovery outweighs its likely benefit"

under Rule 26(b). Sirazi v. Panda Express, Inc., No. 08 C 2345, 2009 WL 4232693, at *5 (N.D.

Ill. Nov. 24, 2009).

                1.      Grubhub's Do-Not-Call Policies Are Unrelated to Plaintiff's Claims.

        Plaintiff's requests for Grubhub's TCPA do-not-call policies and procedures are

unbounded by Rule 26(b)'s restrictions. Plaintiff alleges one count against Grubhub under the

limited provisions of 47 U.S.C. § 227(b)(1)(A)(iii), which prohibits calls made with an automatic

telephone dialing system or a prerecorded or artificial voice to cellular telephones without prior

consent. (See Am. Compl. at 10, 11, ECF 24). Plaintiff describes the discovery she seeks as

including "policies, practices, and procedures" concerning do-not-call requests. (Pl.'s Mot. at 1.)


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But do-not-call policies, practices, and procedures govern claims asserted under the TCPA's

National Do Not Call provisions, which are found in 47 U.S.C. § 227(c) and its implementing

regulations, address improper marketing calls to residential lines on the National Do Not Call

Registry. See Do Not Call, Fed. Commc'ns Comm'n, https://www.fcc.gov/general/do-not-call

(last visited May 24, 2022) (describing the Federal Communications Commission's work, in

furtherance of its implementation of the TCPA, to develop the do-not-call registry, which

"applies to all telemarketers and covers interstate and intrastate telemarketing calls"). Plaintiff

has not alleged such a claim.

       Plaintiff advances several flawed theories in an attempt to justify her broad requests for

TCPA do-not-call policies and procedures. First, Plaintiff claims that the TCPA's provisions

regarding prerecorded calls are content neutral. (See Pl.'s Mot. at 8-9.) But Plaintiff concedes that

she only received informational calls and that such calls were directed to a Grubhub restaurant

partner. This case is about informational – not marketing – calls.

       More fundamentally, Plaintiff seems to misapprehend the TCPA's National Do Not Call

provisions. These provisions, which are not at issue in this case, permit individuals to register

their residential lines on the National Do Not Call Registry ("National DNC Registry") to

prevent unsolicited marketing calls to their residences. If a subscriber on the National DNC

Registry has an established business relationship with a business, then the TCPA's do-not-call

provisions do not apply to that business unless the subscriber requests that the business place

their number on the business's internal do not call list. As a result, the FCC requires businesses

engaged in marketing calls to residential lines to implement do-not-call policies and procedures

to ensure that an individual on the National DNC Registry can request that a business with which

it has a relationship has a mechanism to stop receiving marketing calls from that business. See 47




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C.F.R. § 64.1200(b)-(c). Such policies and procedures are thus irrelevant to the single claim

alleged by Plaintiff under the TCPA's automated dialing provisions. (See Am. Compl. ¶ 41.)

       More fundamentally, Grubhub does not engage in marketing calls to residential lines. It

calls its restaurant partners. Plaintiff posits that TCPA do-not-call documents could be relevant to

her claims by suggesting that she asked to be placed on a "do-not-call list." That is inaccurate. In

her First Amended Complaint, Plaintiff alleges that she attempted to contact Grubhub about her

receipt of informational calls intended for a Grubhub restaurant partner. (Id. ¶¶ 13-14.) She does

not allege that she received calls in violation of the TCPA's National Do Not Call provisions.

Specifically, Plaintiff does not allege that her number was on the National DNC Registry or that

she received any marketing calls to her residential number.

       Notably, discovery has confirmed that Plaintiff hung up or prematurely ended three

inbounds calls to Grubhub, which prevented Grubhub from addressing her issue. Grubhub has

agreed to provide any documents and procedures that address wrong number complaints. TCPA

do-not-call policies and procedures are simply irrelevant to Plaintiff's unique situation or the

limited claim alleged in this action.

       Allowing Plaintiff to mine Grubhub's data for information relevant to unpled claims

related to harms that Plaintiff has not suffered undermines the purpose of pretrial discovery and

subjects Grubhub to the risk of litigation abuse. See BankDirect Cap. Fin., LLC, 2018 WL

946396, at *3-4 (finding that the Federal Rules of Civil Procedure "were not intended to be a

ticket to an unlimited, never-ending exploration of every conceivable matter that captures an

attorney's interest" and that relevancy is "perhaps the most important" constraint on discovery

"given the potential for and the all too obvious reality of litigation abuse"). The bounds of

discovery are not unlimited; the line is certainly drawn at matters irrelevant to a party's claim or




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defense. See Fed. R. Civ. P. 26(b). The Court should therefore deny Plaintiff's requests relating

to do-not-call documents and discovery.

                 2.       Plaintiff's Requests for ALL of Grubhub's Call Data Seek Discovery
                          Beyond the Scope of Plaintiff's Claims.

         Likewise, Plaintiff's discovery requests relating to Grubhub's call data are entirely

disproportionate to her case because they seek "information that is well beyond the scope of the

allegations of the complaint." Lowe v. CVS Pharmacy, Inc., No. 14 C 3687, 2015 WL 13427768,

at *2 (N.D. Ill. Feb. 6, 2015). As described above, the alleged informational calls to Plaintiff

resulted from a single digit mistake in the contact number provided by a restaurant partner to

Grubhub. Yet Plaintiff seeks information regarding all "wrong number" call recipients,

regardless of the circumstances that led to the call, for a period of seven years.4 But Grubhub

does not maintain "wrong number" call records. Undaunted, Plaintiff now demands all of

Grubhub's call records. But such broad requests that encompass all of Grubhub's calls to its

restaurant partners that provided their numbers to Grubhub to receive such calls are improper.

         Because of their breadth, Plaintiff's call data requests are unduly burdensome. One court

in this district analyzed a similar request, also propounded by a plaintiff represented by counsel

for Plaintiff. In Lowe, the plaintiff sought "information concerning any individuals who received

any automated or prerecorded call, for any reason, and under any circumstances, over a four year

period." Id. (emphasis in original). The requests by Plaintiff here exceed even this threshold,

seeking unlimited call data for a period of seven years. Magistrate Judge Michael Mason in Lowe

declined to "burden" the defendant with responding to requests more narrow than those sought



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    Although Plaintiff's requests specifically request data regarding "wrong numbers" and calls that were
    placed after a do-not-call request, Grubhub does not have a mechanism for tracking wrong number
    calls placed to restaurants. Plaintiff's requests state that in the event that Grubhub cannot identify this
    subset of data, Plaintiff demands access to the entirety of Grubhub's calling records. See RFPs 12-13.


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by Plaintiff, as the Lowe plaintiffs' requests sought "vast number[s] of outgoing calls" and "many

of these calls [are not] actionable under the TCPA, and, [because] they bear no similarity to the

calls that plaintiffs received here, they are not relevant to plaintiffs' claims." Id. Plaintiff's call

data requests must be "tailored in some way"—such as seeking only information related to the

specific call types Plaintiff received—in order to conclude that "the information sought is

relevant to the facts alleged in the complaint." Id., at *3. Simply put, even when precertification

discovery is appropriate,5 courts have rejected requests that "go[] far beyond what is relevant to

the class inquiry." Id. at *2.

         The overly broad and irrelevant scope of Plaintiff's demands is buttressed by the fact that

Plaintiff is unable to represent a class relevant to the discovery she seeks. In Bustillos v. W.

Covina Corp. Fitness, No. 2:21-cv-04433, 2022 WL 423396, at *1 (C.D. Cal. Jan. 3, 2022), for

example, the defendant fitness center entered a phone number provided by a potential member

that was, like Plaintiff in this case, "one digit [off]" from the actual member's phone number,

resulting in calls to the proposed lead plaintiff. The Bustillos plaintiff sought to represent a class

of individuals who received the same calls with pre-recorded messages she was mistakenly sent.

Id. However, the unique circumstance leading to the call she received—a one digit off error—

was fatal to her ability to represent a broader class. The court found that while the proposed lead

plaintiff could potentially represent a narrower class of individuals, who, like her, received calls

"because Defendant mistakenly recorded a wrong phone number in its system," she could not

represent anyone else. Id. at *4. The court held that the mistake leading to the calls to the lead




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    Plaintiff alleges that she is entitled to wide-ranging discovery into class certification issues simply
    because discovery is not bifurcated. (See Pl.'s Mot. at 6, 7 n.11.) But despite Plaintiff's suggestion, the
    inquiry does not end there. Each discovery request is still subject to the relevancy and proportionality
    limitations enumerated in Rule 26(b).


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plaintiff make her "entirely atypical of the class she seeks to represent and . . . an inadequate

representative." Id. Like the Plaintiff here, the plaintiff in Bustillos was unable to produce

evidence that "any other person who received the pre-recorded message was similarly situated,

much less that Defendant entered enough wrong numbers to satisfy the numerosity requirement

of Rule 23(a)(1)." Id. (emphasis in original).

        Similarly, in Revitch v. Citibank, N.A., No. 17-06907, 2019 WL 1903247 (N.D. Cal. Apr.

28, 2019), the proposed lead plaintiff, a noncustomer, brought suit under the TCPA after

receiving calls to his cell phone that were meant for a customer. In his quest to represent a broad

wrong number class, the proposed lead plaintiff, whose number was mistakenly provided to

Citibank by a customer, suggested a method of identifying "wrong number" call recipients based

on review of Citibank's internal call notes which, due to routine document destruction, no longer

contained information regarding him. Id. at *2. The court found that the proposed identification

method "excludes [plaintiff] from the class that he purports to represent." Id. at *3. Plaintiff, like

Revitch, would also not be included in any proposed "indicia" of wrong number call analyses

that Plaintiff might seek to apply to call data. Plaintiff has offered to conduct a "data analysis" to

try to determine if any other calls to restaurant partners might be "wrong numbers," but she has

not expressed how this analysis might be conducted and how it might reveal who might be

similarly situated to her. If Plaintiff is trying to find "reassigned" numbers, while such studies are

inherently unreliable, they would not identify Plaintiff, for example, as her number was not

reassigned during the statutory period.6 See Pl.'s Interrog. Resp. 4. Notably, the court in Revitch


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    Moreover, numerous courts have found that wireless subscriber information is not a reliable indicator
    to identify the user of a cellular phone. See Sandoe v. Bos. Sci. Corp., 333 F.R.D. 4, 9-10 (D. Mass.
    2019) (declining to certify class because "up to 75% of cell phone carrier plans are friends and family
    plans meaning that a single subscriber is associated with multiple phone numbers[,] [t]he individual
    users of the associated numbers sometimes do and sometimes do not share a last name with the
                                                                                                     (cont'd)


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found that the disparate experiences of the proposed class, including the differences in consent

present between a phone number provided by mistake vs. knowingly, prevented the named

plaintiff from representing a broad wrong number class. Revitch, 2019 WL 1903247, at *3-4.

       Like the plaintiffs in Bustillos and Revitch, Plaintiff's calls were the result of a unique

circumstance. Plaintiff is limited by her unique experience and cannot represent all persons who

might have received other types of "wrong number" calls. As a result, Plaintiff is not entitled to

broad call data beyond the circumstances underlying her claim. For this reason, Plaintiff's

requests for "wrong number" discovery, advanced without differentiation between the

circumstances that led to the wrong number call, are disproportionate to the case, unduly

burdensome and—because Plaintiff appears to be the only one who received any wrong number

calls intended for restaurants—is unlikely to result in any information relevant to Plaintiff's

claims or the claims of any class members she could potentially represent. Plaintiff can only

represent persons who are similarly situated to her, and thus the unique circumstances of her

experience prevent her from seeking discovery regarding those who fall outside that group.

Plaintiff is simply not entitled to obtain access to all of Grubhub's call data in a desperate search

for other situations where a restaurant's onboarding form had a mistake in the contact number.

She is ill positioned to represent any broader class of potential wrong number recipients who

might have received different calls, provided different consent to Grubhub, and experienced

different circumstances leading to the call. Providing Plaintiff with the broad access she seeks



   subscriber," and "[a]s a result, defendant has a unique potential consent defense against every
   proposed class member"); Revitch, 2019 WL 1903247, at *2 ("Notably, a single phone number can be
   associated with multiple accounts owned by different people."); Mejia v. Time Warner Cable Inc., No.
   15-CV-6445 (S.D.N.Y. Aug. 14, 2019), Docket No. 308 at 21 (declining to certify class in part
   because LexisNexis had confirmed that it could not be used to perform accurate historic reverse look-
   ups on cellular numbers to ascertain the identity of the person who may have received a wrong-
   number call).


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would be a waste of the parties' time and resources because it will yield no relevant information

and "[n]o amount of discovery can erase these plain distinctions" between Plaintiff and the group

of individuals about whom Plaintiff seeks discovery. Labou v. Cellco P'ship, No. 2:13–cv–

00844, 2014 WL 824225 at *4 (E.D. Cal. Feb. 28, 2014).

B.       Plaintiff is Entitled to No Further Discovery.

         Plaintiff has argued that Grubhub "largely refused to provide responsive information or

materials" and "often unilaterally limited the scope of its response." Plaintiff is incorrect.

Grubhub produced documents on April 15, 2022, and—at Plaintiff's request—provided written

responses to Plaintiff's inquires following extended meet and confers. In the written responses,

Grubhub also committed to producing additional documents. (See Pl.'s Mot., at Ex. C.) Plaintiff

herself explained this process in her motion. (Id. at 1-2, 17.)

         Grubhub has already committed to providing Plaintiff with the relevant and responsive

information she needs. See supra, Background. As an alleged wrong number recipient of

allegedly prerecorded calls that were meant for a restaurant partner, discovery relevant to

Plaintiff's claims consists of: i) information and documents regarding complaints about wrong

number calls intended for restaurant partners; ii) the policies and procedures surrounding the

informational calls to restaurant partners; and iii) documents relevant to Plaintiff, her phone

number, and NaanStop.7 In addition, despite her representation that the case would "go away" if

Plaintiff was the only one that received wrong number calls intended for a restaurant, (Tr. of

Status Hr'g at 14:11-12, Feb. 14, 2022, ECF 88), Plaintiff ignores Grubhub's repeated testimony




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     Plaintiff admits that Grubhub had already produced many of these documents prior to the filing of her
     motion to compel, as she describes Grubhub's first production as containing, in part, "its agreements
     with two restaurants purportedly connected to its robocalls to Plaintiff" and "some Plaintiff-specific
     records." (Pl.'s Mot. at 2 n.2.)


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that "after a reasonable investigation, other than this action, it has identified no complaints from

consumers that they received telephone calls intended for Grubhub's restaurant partners." (See

Pl.'s Mot., at Ex. A at 5, 9, 12-13, 19, 22, 27.) Perhaps unhappy with the facts, Plaintiff's motion

seeks to cast Grubhub as an obstructionist party when Grubhub has been forthcoming and

committed to producing documents within the appropriate scope of discovery—items

specifically related to the issues in the case and the unique harm Plaintiff claims to have suffered.


                                          CONCLUSION

       Plaintiff's premature motion acknowledges that Grubhub has given Plaintiff discovery

relevant to her claims, yet she seeks sweeping discovery far outside the bounds of her pleaded

claims, the circumstances surrounding them, and any potential class she could represent. Because

Plaintiff's Motion to Compel seeks irrelevant information, the breadth of which is wholly

disproportionate to her claims, it should be denied.

                                                       Respectfully submitted,

Dated: May 25, 2022                                    /s/ Michael W. McTigue Jr.
                                                       Michael W. McTigue Jr. (pro hac vice)
                                                       Meredith C. Slawe (pro hac vice)
                                                       SKADDEN, ARPS, MEAGHER
                                                       SLATE & FLOM, LLP
                                                       One Manhattan West
                                                       New York, New York 10001-8602
                                                       Telephone: 1.212.735.3000
                                                       mike.mctigue@skadden.com
                                                       meredith.slawe@skadden.com

                                                       William J. Cadigan
                                                       LAW OFFICE OF WILLIAM J.
                                                       CADIGAN, P.C.
                                                       33 N. Dearborn Street, Suite 2350
                                                       Chicago, IL 60602
                                                       Telephone: (312) 207-0222
                                                       wcadigan@cadiganlaw.net

                                                       Counsel for Defendant Grubhub Inc.


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                                 CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Opposition to Plaintiff's Motion to Compel Discovery

was filed electronically with the Clerk of the Court on May 25, 2022, using the CM/ECF system,

which will send notification of such filing to all counsel of record.

                                                      /s/ Michael W. McTigue Jr.
                                                      Michael W. McTigue Jr.
